                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION


UNITED STATES OF AMERICA,
                                                    DOCKET NO. 3:05 CR 294 MU
               Plaintiff,
                                                    ORDER TO PAY WITNESS FEES
       vs.

BOBBY LARUE THOMPSON

               Defendant.


               GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED that the

United States Marshal’s Service pay witness fees to Harry Davis in the above titled case.


                                                Signed: November 16, 2007




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